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                      IN THE UNITED STATES MAGISTRATE COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,                      Case No. 2:10-mj-00309

                    Plaintiff,                   NOTICE OF SUBSTITUTION OF
                                                 COUNSEL
  v.

  MARIO PERAZA-ARMENTA,

                   Defendant.


       Comes now, the United States by and through the undersigned Assistant United States

Attorney, hereby gives notice that AUSA Adam S. Elggren now serves as substitute counsel for

the United States in place of Assistant United States Attorney Lake Dishman.

       DATED this 7th day of July, 2020.

                                                   JOHN W. HUBER
                                                   United States Attorney

                                                   /s/ Adam S. Elggren
                                                   Adam S. Elggren
                                                   Assistant United States Attorney
